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                                                                                f^'LED
            IN THE UNITED STATES DISTRICT COURT FOR TiiEfeS. DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA                         .'.J        ^1'./
                            AUGUSTA DIVISION                       inn              _
                                                                   /Ulo AU6 30 P 3: 10

UNITED STATES OF AMERICA                *


       V.                               *             CR 106-028
                                        ★


JEREMIAH LANE                           *




                                  ORDER




       In this captioned criminal case, Defendant Jeremiah Lane

pleaded guilty to conspiracy to rob commercial businesses;

robbery of a commercial business; and discharging a firearm

during a crime of violence.           He was sentenced on February 20,

2007 to a total term of 207 months in prison.

       Presently, Defendant has filed a motion to reduce his

sentence under 18 U.S.C. § 3582(c)(2) based upon the United

States Sentencing Commission's "recent                 ^Minor Role' 3B1.2

Amendment."      (Doc. No. 77, at 1.)             Presumably, Defendant is

referencing Amendment 794 to the United States Sentencing

Guidelines,       which    sets       out   new      guidelines          for      the

determination      of   whether   a    defendant     should   be    granted         a

mitigating role reduction under U.S.S.G. § 3B1.2.

       Section 3582(c)(2) allows a court to modify an imposed

term of imprisonment if a defendant's sentencing range has

been   subsequently       lowered     by    the    Sentencing      Commission.
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